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IN THE UNITED sTATEs I)ISTRICT coURT '“'* ' ~
FoR THE WESTERN DISTRICT oF TENNESSE£JUL 29 pH ,. 58

WESTERN DIVISIoN
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UNITED sTATEs oF AMERICA, * OJM US‘ airp§g}”@%mr
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Plaintiff, *
v. * cr. No. 04-20127-})
JEROME REED, *

Defeodant. *

 

ORDER GRANTING DEFENDANT’S MOTION
TO WITHDRAW CONDITIONAL GUILTY PLEA

 

Upon motion of the Defendant, Jerome Reed, and it appearing that said motion is well-taken
and should be granted, the motion to withdraw his conditional guilty to the Indiotment in the above-
stated matter is hereby GRANTED.

It is so ORDERED, this the dig day of .luly 2005.

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H orable Bemiée Donald
Umted States District Judge

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UNITED sATE DISTRICT COURT - WETERN DISTRCT OFTENNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

